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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                  CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                        HON. URSULA UNGARO

               Plaintiffs,                                CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

         STATUS REPORT PURSUANT TO COURT’S APRIL 23, 2020 ORDER

        Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days. [DE 10].

        Plaintiffs continue to work with their international service vendor to effect service

 on Defendants.      Research of the proper official addresses of each of the eight

 Defendants has been completed, and summonses have been submitted to the Clerk of

 Court. [DEs 22 – 29]. The vendor is processing the Hague Convention-required U.S.

 Marshall Service Form 94’s (USM-94) for each Defendant which also requires the

 official Chinese translation of the information on the USM-94. The translation of the

 First Amended Complaint should be completed within the week.

        Plaintiffs next status report will be filed on June 10, 2020.

        Respectfully submitted this 26th day of May, 2020.
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                                      By: /s Matthew T. Moore
                                      Matthew T. Moore, Esq.
                                      Fla. Bar No. 70034
                                      Primary: mmoore@thebermanlawgroup.com
                                      Secondary: service@thebermanlawgroup.com

                                      Vincent J. Duffy, Esq.
                                      Fla. Bar No. 82151
                                      Primary: service@thebermanlawgroup.com
                                      Secondary: vduffy@thebermanlawgroup.com

                                      THE LAW OFFICES OF
                                      BERMAN & BERMAN, P.A.
                                      P.O. Box 272789
                                      Boca Raton, FL 33427
                                      Telephone: (561) 826-5200
                                            Fax: (561) 826-5201

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 May 26, 2020, with the Court’s CM/ECF filing system, which shall cause an email notice

 to be sent to all parties of record in this matter.



                                      By: /s Matthew T. Moore
                                      Matthew T. Moore, Esq.
                                      Fla. Bar No. 70034
